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                                               7   Attorneys for Defendant
                                                   MCLAREN AUTOMOTIVE, INC.
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                                               9                            UNITED STATES DISTRICT COURT
                                              10                                      CENTRAL DISTRICT
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                                              12   ADDE ISSAGHOLI, an individual,                      Case No.: 2:19-cv-07616-MCS (KKx)
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                                              13               Plaintiff,
                                              14                                                       DEFENDANT MCLAREN
                                                   v.                                                  AUTOMOTIVE, INC.’S
                                              15                                                       PROPOSED CASE-SPECIFIC
                                                   MCLAREN AUTOMOTIVE, INC., a                         VOIR DIRE QUESTIONS
                                              16   Delaware Corporation; and DOES 1
                                                   through 20, inclusive,
                                              17
                                              18               Defendants.
                                              19
                                              20
                                              21
                                              22
                                              23         Defendant McLaren Automotive, Inc. (“MAI”) submits the following
                                              24   proposed case-specific voir dire questions.
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                                                                                                                             CASE NO.: 2:19-cv-07616 MCS (KKx)
                                                              DEFENDANT MCLAREN AUTOMOTIVE, INC.’S PROPOSED CASE-SPECIFIC VOIR DIRE QUESTIONS
                                            Case 2:19-cv-07616-MCS-KK Document 78 Filed 06/30/21 Page 2 of 4 Page ID #:928



                                               1   1. Do you have any familiarity or experience in automotive repair or as an
                                               2      automotive mechanic?
                                               3
                                               4   2. Have you or someone close to you ever worked for a company that designs,
                                               5      manufactures, sells or repairs motor vehicles?
                                               6
                                               7   3. Do you take your vehicle to an authorized dealership for maintenance or repair
                                               8      work?
                                               9
                                              10   4. Have you or someone close to you ever contacted an automotive manufacturer
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                                              11      or dealer regarding concerns about your vehicle?
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                                              13   5. Have you ever had a bad or negative experience with an motor vehicle
                                              14      manufacturer or dealer?
                                              15
                                              16   6. Do you have any strong opinions about the job most corporations do when it
                                              17      comes to communicating safety information about their products to the public?
                                              18
                                              19   7. Do you have any familiarity or experience with race cars or professional
                                              20      racing?
                                              21
                                                   8. Have you ever been a party to or a witness in a lemon law lawsuit?
                                              22
                                              23   9. Have you ever owned a vehicle that you believed to be a “lemon”?
                                              24
                                                   10. Do you believe that when someone is named a defendant in a lawsuit that they
                                              25
                                                      are automatically wrong?
                                              26
                                              27   11. Do you believe that when someone files a lawsuit they are automatically
                                              28      entitled to recover money?
                                                                                                      2
                                                                                                                               CASE NO.: 2:19-cv-07616 MCS (KKx)
                                                                DEFENDANT MCLAREN AUTOMOTIVE, INC.’S PROPOSED CASE-SPECIFIC VOIR DIRE QUESTIONS
                                            Case 2:19-cv-07616-MCS-KK Document 78 Filed 06/30/21 Page 3 of 4 Page ID #:929



                                               1   12. Do you believe that a person who files a lawsuit should recover an amount of
                                               2      money that is more than they actually paid?
                                               3   13. Do you believe that a person who files a lawsuit is entitled to recover money
                                               4      that others have paid?
                                               5   14. Are you the owner of a closely held corporation?
                                               6
                                               7 Dated: June 30, 2021                       Respectfully submitted,
                                               8                                            NELSON MULLINS RILEY &
                                                                                            SCARBOROUGH LLP
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                                              10
  LLP




                                                                                            By:      /s/ Lisa M. Gibson
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                                              11                                                     Lisa M. Gibson
                                                                                                     Shawtina F. Lewis
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                                                                                             Attorneys for Defendant
                                              13                                             MCLAREN AUTOMOTIVE, INC.

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                                                                                                                             CASE NO.: 2:19-cv-07616 MCS (KKx)
                                                              DEFENDANT MCLAREN AUTOMOTIVE, INC.’S PROPOSED CASE-SPECIFIC VOIR DIRE QUESTIONS
                                            Case 2:19-cv-07616-MCS-KK Document 78 Filed 06/30/21 Page 4 of 4 Page ID #:930



                                               1                               CERTIFICATE OF SERVICE
                                               2         I hereby certify that on June 30, 2021, I electronically filed the foregoing
                                               3   document using the CM/ECF system which will send notification of such filing to
                                               4   the e-mail addresses for counsel of record registered in the CM/ECF system, as
                                               5   denoted on the Electronic Mail Notice List.
                                               6
                                                                                                           By: /s/ Lisa M. Gibson
                                               7                                                             Lisa M. Gibson
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                                                                                                                             CASE NO.: 2:19-cv-07616 MCS (KKx)
                                                              DEFENDANT MCLAREN AUTOMOTIVE, INC.’S PROPOSED CASE-SPECIFIC VOIR DIRE QUESTIONS
